Case MDL No. 488 Document 2 Filed 05/19/15 Page 1 of 2

4 cc

Cerin Siren es ng

eidsere Ligswaa.
rien

baaho

HAR -3 1982
DOCKET NO. 488 PATIEOVA DI Lira nd

 
 

ELERA CF Tie fe
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
IN RE MACK TRUCK PARTS ANTITRUST LITIGATION
ORDER DENYING TRANSFER*

This litigation consists of eleven actions pending
in three districts -- nine actions in the Eastern District
of Pennsylvania and one action each in the Northern District
of Illinois and the Southern District of Ohio. Presently
before the Panel is a motion by the plaintiffs in the Ohio
action for transfer under 28 U.S.C. §1407 of the Ohio and
Illinois actions to the Eastern District of Pennsylvania
for coordinated or consolidated pretrial proceedings with
the actions pending there. Plaintiff in the Illinois action
and plaintiffs in four of the Pennsylvania actions support
transfer. Mack Trucks, Inc., and its National Distributor
Advisory Council, the defendants in each action, oppose
transfer.

On the basis of the papers filed and the hearing held,
we find that Section 1407 transfer would neither serve the
convenience of the parties and witnesses nor further the
just and efficient conduct of the litigation. We recognize
that these actions share some questions of fact, but we
are persuaded that this factor is outweighed by 1) the more
advanced stage of the Pennsylvania actions in comparison
to the Ohio and Illinois actions; 2) the fact that, because
the Pennsylvania actions have been consolidated among themselves,
there are really only three actions pending before the Panel;
3) the absence of any conflicting class action allegations;
and 4) the widely different scope of the actions pending
in the three districts -- ranging from a purported nationwide
class of non-governmental purchasers in Pennsylvania, to
a purported statewide class of governmental purchasers in
Illinois, to individual plaintiffs in Ohio.

IT IS THEREFORE ORDERED that the motion pursuant to
28 U.S.C. §1407 to transfer the actions listed on the attached
Schedule A be, and the same hereby is, DENIED.

FOR THE PANEL:

Cdr &. Coffe,

e

 

Andrew A. Caffrey
Chairman

* Judges Roy W. Harper and Sam C. Pointer, Jr. took no
part in the decision of this matter.
Case MDL No. 488 Document 2 Filed 05/19/15 Page 2 of 2

‘Schedule A

MDL-488 -- In re Mack Truck Parts Antitrust Litigation

Southern District of Ohio
Weiss Trucking Co., Inc., et al. v. Mack Trucks, Inc.,
et_al., C.A. No. C-2-81-1189
Northern District of Illinois
State of Illinois v. Mack Trucks, Inc., et al.,
C.A. No. 81C3106
Eastern District of Pennsylvania
Globe Disposal Co., Inc., et al. v.- Mack Trucks, Inc.,
et al., C.A. No. 81-0127
National Freight, Inc. v. Mack Trucks Inc., et al.,
C.A. No. 81-0153
Mariana Bros., Inc. v. Mack Trucks, Inc., et al.,
C.A. No. 81-0128
East Coast Pollution Control, Inc. v. Mack Trucks, Inc.,
et al., C.A. No. 81-0159
Union Street Transport, Inc. v. Mack Trucks, Inc., et
al., C.A. No. 81-0254
Deetz-Bay Construction Co., et al. v. Mack Trucks, Inc.,

 

et al., C.A. No. 81-0586

John McTamney, et al. v. Mack Trucks, Inc., et al.,C.A.
No. 81-0301

Camden Lime Co., etc. v. Mack Trucks, Inc., et al.,
C.A. No. 81-0400

Alan D. Alper v. Mack Trucks, Inc., et al.,
C.A. No. 81-0624
